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ne pigTRiCT COURT
CLERK U.S. DISTRICT COUR
: PAL DIST. OF CALI.
CENTRE GS RHGELES
BY ee
UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALTFORNIA
June 2017 Grand Jury
UNITED STATES OF AMERICA, SA CR No. 17- "To
Plaintiff, INDICTMENT
v. [21 U.S.C. S$ 841 (a) (1),
. (b) (1) (C), (b) (1) (EB), and
JEFFREY OLSEN, (ob) (2): Distribution of
Oxycodone, Amphetamine Salts,
Defendant. Alprazolam, and Hydrocodone; 21
U.S.C. § 843(a) (4) (A): False
Statement in a DEA Registration
Application; 21 U.S.C. § 853:.
Criminal Forfeiture]

 

 

 

 

The Grand Jury charges:
COUNTS ONE through NINETEEN
[21 U.S.C. $§ 841 (a) (1), (6) (1) (C)]

On or about the following dates, in Orange County, within
the Central District of California, and elsewhere, defendant
JEFFREY OLSEN, then a physician licensed to practice medicine in
the State of California, while acting and intending to act
outside the usual course of professional practice and without a

legitimate medical purpose, knowingly and intentionally

 

 

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drug controlled substance,

prescribed and distributed oxycodone,

a Schedule II narcotic

to the following persons:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COUNT DATE NAMED RECIPIENT
ONE August 2, 2013 K.K.
TWO August 9, 2013 J.G.

THREE September 9, 2013 K.K
FOUR October 1, 2013 J.G
FIVE October 12, 2013 J.V.
SIX April 9, 2014 J.G.

SEVEN May 14, 2014 J.G.

EIGHT May 16, 2014 J.V.
NINE February 13, 2015 K.B
TEN March 9, 2015 K.B.

ELEVEN April 9, 2015 K.B.

TWELVE April 9, 2015 J.W.

THIRTEEN April 17, 2015 K.B
FOURTEEN April 28, 2015 . J.W.
FIFTEEN May 18, 2015 J.G.
SIXTEEN May 18, 2015 J.V.
SEVENTEEN June 25, 2015 J.G
SIGHTEEN June 25, 2015 J.V.
NINETEEN January 20, 2016 J.W.

 

 

 

 

 

 

 

 
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COUNTS TWENTY through TWENTY-FIVE
[21 U.S.C. §§ 841(a) (1), (b) (1) (C))

On or about the following dates, in Orange County, within
the Central District of California, defendant JEFFREY OLSEN,
then a physician licensed to practice medicine in the State of
California, while acting and intending to act outside the usual
course of professional practice and without a legitimate medical
purpose, knowingly and intentionally prescribed and distributed
amphetamine salts, a Schedule II controlled substance, to the

following persons:

 

 

 

 

 

 

 

COUNT DATE NAMED RECIPIENT

TWENTY , March 9, 2015 K.B.
TWENTY-ONE April 9, 2015 K.B.
TWENTY-TWO April 9, 2015 J.W.
TWENTY-THREE April 17, 2015 K.B.
TWENTY-FOUR April 28, 2015 J.W.
TWENTY-FIVE January 20, 2016 J.W.

 

 

 

 

 

 
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COUNTS TWENTY-SIX through THIRTY-TWO
[21 U.S.C. §§ 841 (a) (1), (b) (2)]

On or about the following dates, in Orange County, within
the Central District of California, defendant JEFFREY OLSEN,
then a physician licensed to practice medicine in the State of
California, while acting and intending to act outside the usual
course of professional practice and without a legitimate medical
purpose, knowingly and intentionally prescribed and distributed

alprazolam, a Schedule IV controlled substance, to the following

 

 

 

 

 

 

 

 

persons:
COUNT DATE RECIPIENT
TWENTY-SIX February 13, 2015 K.B,
TWENTY-SEVEN March 9, 2015 K.B.
TWENTY-EIGHT April 9, 2015 K.B.
TWENTY-NINE April 9, 2015 J.W.
THIRTY April 17, 2015 K.B
THIRTY-ONE April 28, 2015 J.W.
THIRTY-TWO January 20, 2016 JW.

 

 

 

 

 

 

 

 

 
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COUNTS THIRTY-THREE and THIRTY-FOUR
[21 U.S.C. §§ 841(a) (1), (b) (1) (E))

On or about the following dates, in Los Angeles County,
within the Central District of California, defendant JEFFREY
OLSEN, then a physician licensed to practice medicine in the
State of California, while acting and intending to act outside
the usual course of professional practice and without a
legitimate medical purpose, knowingly and intentionally
prescribed and distributed hydrocodone, then a Schedule III

narcotic drug controlled substance, to the following person:

 

 

 

 

COUNT DATE NAMED RECIPIENT
THIRTY-THREE August 29, 2013 . S.R.
THIRTY-FOUR September 24, 2013 '  S.R.

 

 

 

 

 

 

 

 

 
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COUNT THIRTY-FIVE
[21 U.S.C, § 843 (a) (4) (A) ]

On or about May 20, 2016, in Orange County, within the
Central District of California, defendant JEFFREY OLSEN
(“OLSEN”) knowingly and intentionally furnished false and
fraudulent material information in an application required to be
filed under Title 21, United States Code, Section 823, and Title
21, Code of Federal Regulations, Part 1301, in that defendant
OLSEN submitted to the United States Drug Enforcement
Administration (“DEA”) an application to obtain a federal
controlled substance registration. stating that defendant OLSEN
had never had a federal controlled substance registration
revoked, suspended, restricted or denied, when, in truth and in
fact, as defendant OLSEN then well knew, effective on or about
March 18, 2016, the DEA suspended defendant OLSEN’s federal

controlled substance registration.

 

 

 

 

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FORFEITURE ALLEGATION
[21 U.S.C. § 853]

1. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is
hereby given to defendant JEFFREY OLSEN (“defendant”) that the
United States will seek forfeiture as part of any sentence in
accordance with Title 21, United States Code, Section 853, in
the event of defendant’s conviction under any of Counts One
through Thirty-Four of this Indictment.

2. Upon such conviction, defendant shall forfeit to the
United States the following property:

a. all right, title, and interest in any and all
property, real or personal:

(i) constituting, or derived from, any proceeds
obtained, directly or indirectly, as a result of any offense of
conviction;

(ii) used, or intended to be used, in any manner or
part, to commit, or to facilitate the commission of any such
offense; and

b. To the extent such property is not available for
forfeiture, a sum of money equal to the total value of the
property described in paragraph 2.a.

3. Pursuant to Title 21, United States Code, Section
853(p), defendant shall forfeit substitute property, up to the
value of the total amount described in paragraph 2, if, as the
result of any act or omission of defendant, the property
described in paragraph 2, or any portion thereof (a) cannot be
located upon the exercise of due diligence; (b) has been

transferred, sold to, or deposited with a third party; (c) has

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been placed beyond the jurisdiction of the court; (d) has been
substantially diminished in value; or (e) has been commingled

with other property that cannot be divided without difficulty.

A TRUE BILL

/s[

Foreperson

SANDRA R. BROWN
Acting United States Attorney

XO

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

KEVIN M. LALLY

Assistant United States Attorney

Chief, Organized Crime Drug Enforcement
Task Force Section

BENJAMIN R. BARRON

Assistant United States Attorney

Deputy Chief, Organized Crime Drug
Enforcement Task Force Section

 

 

 

 
